                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION           F'LED                      IN COURT
                                                                             ASHEVILLE, NC
                            DOCKET NO.       1   :2   l-CR-00070              MAY   25 2022
                                                                          U-S DISTRICT COURT
LINITED STATES OF AMEzuCA                                                  W. DISTRICT OF N.C.
                                                        CONSENT ORDER AND
                                                      JUDGMENT OF FORFEITURE

 19) RYAN WARREN MUSTER



       WHEREAS, the defendant, Ryan Warren Muster, has entered into a plea
agreement (incorporated by reference herein) with the United States and has
voluntarily pleaded guilty pursuant to Fed. R. Crim. P. I I to one or more criminal
offenses under which forfeiture may be ordered;

       WHEREAS, the defendant and the United States stipulate and agree that the
property described below constitutes properfy derived from or traceable to proceeds
of the defendant's offense(s) herein; property involved in the offenses, or any
property traceable to such properfy; and/or properfy used in any manner to facilitate
the commission of such offense(s); or substitute properry as defined by 2l U.S.C.
                                                                                        $
853(p) and Fed. R. Crim. P.32.2(e); and is therefore subject to forfeiture pursuant
to 2l u.s.c. $ 853, 18 u.s.c. $ 924(d), and/or 28 u.s.c. S 2461(c), provided,
however, that such forfeiture is subject to any and all third parfy claims and interests,
pending final adjudication herein; the defendant waives his interest, if any, in the
properfy and agrees to the forfeiture of such interest;

       WHEREAS, the defendant herein waives the requirements of Fed. R. Crim.
P. 32.2 regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

       WHEREAS, pursuantto Fed. R. Crim. P.32.2(b)(l) & (cX2), the Court finds
that there is the requisite nexus between the properfy and the offense(s) to which the
defendant has pleaded guilty;




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       WHEREAS, the defendant withdraws any claim previously submitted in
response to an administrative forfeiture or civil forfeiture proceeding concerning any
ofthe property described below. If the defendant has not previously submitted such
a claim, the defendant hereby waives all right to do so. If any administrative
forfeiture or civil forfeiture proceeding conceming any of the property described
below has previously been stayed, the defendant hereby consents to a lifting ofthe
stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorized to
enter this Order by the previous Order of this Court No. 3:05MC302-C (September
8, 2005);

     NOW, THEREFORE, IT IS HEREBY ORDERED THAT the following
property is forfeited to the United States:

            o   Hi-Point C9, 9mm caliber pistol, SN: 1598836

       The United States Marshal and/or other property custodian for          the
investigative agency is authorized to take possession and maintain custody of the
above-described tangible property.

       Ifand to the extent required by Fed. R. Crim. P. 32.2(b)(6), 2l U.S.C. $
853(n), and/or other applicable law, the United States shatl pubtish notice and
provide direct written notice of this forfeiture.

       As to any firearms and/or ammunition listed above and/or in the charging
instrument, defendant consents to disposat by federal, state, or Iocal law enforcement
authorities upon such legal process as they, in their sole discretion, deem to be
tegally sufficient, and waives any and all right to further notice of such process or
such destruction.

       Any person, other than the defendant, asserting any legal interest in        the
property may, within thirty days of the publication of notice or the receipt of notice,
whichever is earlier, petition the court for a hearing to adjudicate the validity of the
atleged interest.




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      Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this Order of Forfeiture,
the United States Attorney's Office is authorized to conduct any discovery needed
to identiff, locate or dispose of the property, including depositions, interrogatories,
requests for production of documents and to issue subpoenas, pursuant to Fed. R.
Civ. P.45.

       Following the Court's disposition of all timely petitions filed, a final order of
forfeiture shall be entered, as provided by Fed. R. Crim. P.32.2(c)(2).lt no third
party files a timely petition, this order shall become the final order and judgment of
forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United States shall
have clear title to the property and shall dispose of the properfy according to law.
Pursuant to Fed. R. Crim. P.32.2(b)(4)(A), the defendant consents that this order
shall be final as to defendant upon filing.

SO AGREED:




JONATFIAN D. LE
Assistant United States Attorney




   AN WARREN MUSTER




RODEzuCK G. DAVIS
Attorney for Defendant                                                 f-
                                           Signed:   h -4        Zf     ,2022
                                                     --7-
                                           W. CARLETON
                                           United States      istrate Judge
                                           Western Di    ct of North Carolina

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